         Case 1:09-cv-00273-FMA Document 60 Filed 09/02/11 Page 1 of 1




      In The United States Court of Federal Claims
                                          No. 09-273T

                                    (Filed: September 2, 2011)
                                            __________


 DESERET MANAGEMENT CORPORATION,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                           __________

                                            ORDER
                                           __________

         On September 2, 2011, plaintiff filed a motion in limine re: August 29, 2011, supplement
to Robyin Flynn’s Rebuttal Expert Report filed electronically, to which were attached 29
separate Adobe PDF files. The motion is hereby stricken, as it does not comply with RCFC
appendix E, ¶ 9(b) electronic filing requirements. On or before September 6, 2011, plaintiff shall
refile the motion in limine, combining the contents of each Adobe PDF file so as to minimize the
total number of attachments filed (while keeping within the 5 megabyte maximum file size
requirement).

       IT IS SO ORDERED.




                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
